           Case 1:18-cv-00956-TWT Document 36 Filed 10/24/18 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YOUNG AMERICANS FOR
FREEDOM OF KENNESAW STATE
UNIVERSITY and ZACHARAY
BOHANNON,                                     Case No. 1:18-cv-956-TWT

              Plaintiffs,

      v.

W. KEN HARMON, Interim
President of Kennesaw State
University, in his official capacity; et
al.,

              Defendants.


                            NOTICE OF SETTLEMENT

       The parties respectfully notify the Court that they have resolved the above-

captioned case by negotiated agreement. Counsel for the parties are in the process

of finalizing the settlement agreement and stipulation of dismissal, which the

parties intend to complete the as soon as practicable, but respectfully request

twenty-one days, to November 14, 2018, to do so. Accordingly, the parties

respectfully request that the Court vacate any deadlines falling within that period

of time.




                                           -1-
        Case 1:18-cv-00956-TWT Document 36 Filed 10/24/18 Page 2 of 4




      Defendants are filing this Notice of Settlement with the approval and

permission of counsel for Plaintiffs.

                                 Respectfully submitted,

                                 CHRISTOPHER M. CARR          112505
                                 Attorney General

                                 KATHLEEN M. PACIOUS          558555
                                 Deputy Attorney General

                                 ROGER CHALMERS                 118720
                                 Senior Assistant Attorney General

                                 s/Deborah Nolan Gore         437340
                                 DEBORAH NOLAN GORE
                                 Assistant Attorney General

PLEASE ADDRESS ALL
COMMUNICATIONS TO:
Deborah Nolan Gore
State Law Department
40 Capitol Square SW
Atlanta, GA 30334
Tel: (404) 463-8850
Fax: (404) 651-5304
Email: dgore@law.ga.gov




                                           -2-
        Case 1:18-cv-00956-TWT Document 36 Filed 10/24/18 Page 3 of 4




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(B) in 14-point New Times Roman

type face.

      This 24th day of October, 2018.

                                        /s/ Deborah Nolan Gore
                                        DEBORAH NOLAN GORE 437340
                                        Assistant Attorney General




                                           -3-
        Case 1:18-cv-00956-TWT Document 36 Filed 10/24/18 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that I have on this day caused a true and correct copy of the

foregoing pleading, NOTICE OF SETTLEMENT, to be filed with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.

      This 24th day of October, 2018.

                               s/ Deborah Nolan Gore
                               DEBORAH NOLAN GORE              437340
                               Assistant Attorney General




                                          -4-
